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IN RE: OIL SPILL by “Deepwater Horizon” 8

DIRECT FILING SHORT FORM’ “App 2

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982 LTP ps .
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2779):
pet

JUDGE CARL BARBIE]

Uh AINTIE ; a
By submitting this document, 1 am asserting a claim in Compiaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Sundle”)
filed in MDL No. 2179 (10 md 2179}.

SECTION: J

MOL 2179

; Last Name First Name | Middle Name/Maiden : Suffix
Phone Number E-Mail Address
(706) 745-4364 / pharmboy@windstreamnet eee
Address City / State / Zip
62 Butts Drive Blairsville, GA 30512
a
INDIVIDUAL CLAIM = BUSINESS CLAI L]
Employer Name soectvsnvts vt soos apse naveanse i . Baginess Name ne eave ieee veaemnite eeve nase wont
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Adcress Address
. city state Zp soo vet teense it se ay osteo nnngi n sct o City state ; Zip tet eerste entnventnveatins wateveae eaeate we ests
Last 4 digits of your Sociai Security Number Last 4 digits of your Tax ID Number
1631
ee ne
Attorney Name | Firm Name
JEFF FRIEDMAN FRIEDMAN LEAK
Address City / State / Zip
3800 CORPORATE WOODS DRIVE BS BIRMINGHAM, AL 35242
Phone Number E-Mail Address
(205} 278-7000 jfriedman@friedmanleak.com /mconn@friedmanieak.com
Caen eer eee ee eee eee ence ence ee reece
Claim filed with BP? YES oO NO 7 Claim Filed with GCCF?: YES i NO Cl
lf yes, BP Claim Na.: If yes, Claimant Identification Ne.:

Claim Type (Please check all that apply):

Damage or destruction to real or personal property
Ga Earnings/Profit Loss
Q Personal Injury/Death

Fear of Future Injury and/or Medical Monitoring
Loss of Subsistence use of Natural Resources
Removal and/or clean-up costs

Other:

Oooo

' This form shouid be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888, While this Direct Filing Short Form is to $e filed in CA No. 10-8888, by prior order of the Court, (Rec. Dac. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Lisison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Farm, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1

The filing of this Direct Filing Short Form shail also serve in Hew of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Jnana
Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims

involving real estate/property, include the property location, type of property (residential’commercial). and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

Damages to residential property located at 4118 Albacore Street, Panama City, Bay County,
Florida 32408

For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your

employer, and where you were working.

2

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1}

[J 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or aystering.

O 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

C] 3. Recreational business owner, operator ar worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

C] 4. Commercial business, business owner, operator or worker, including comrnercial divers, offshore oilfield servica, rapair and
supply, real estate agents, and supply companies, or an employee thereai.

Os. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
0 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

[fe] 7 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

D8. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
Os Bank, financial institution, or retail business thal suffered losses as a resuit of the spill.
OO 10. Person who utilizes natural resources for subsistence.

O 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle 83)

(4 1. Boat captain or crew involved in the Vessels of Opportunity program.
2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

0 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

OO 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
EJ 5. Resident wha lives or works in close proximity to coastal waters.

{] 6. 9 Other:

Both BP and the Gulf Coast Claims Facility (“GCCF") are hereby autharized to release to the Defendants in MDL
2179 all information and docurnents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protg@ting Confidentiality (Bge-Trial Order No. 11), and subject to full copies of same being made available to both
the % r big atta applicable) filing this form and PSC through Plaintiff Liaison Counsel.

a

Claimant of Attorney Signature

JEFF FRIEDMAN

Print Name

4-101)

Date

3

The filing of this Direct Filing Short Form shall also serve in liew of the requirement of a Plaintiff to fite a Plaintiff Profile Form.

